         Case 1:20-cv-02320-RBW Document 28 Filed 12/08/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
AMERICAN CIVIL LIBERTIES UNION,           )
                                          )
AMERICAN CIVIL LIBERTIES UNION            )
FOUNDATION,                               )
                                          )
                  Plaintiffs              )
                                          )
      v.                                  )                  No. 1:20-cv-02320 (RBW)
                                          )
FEDERAL BUREAU OF PRISONS,                )
                                          )
                  Defendant.              )
__________________________________________)


                 EMERGENCY REQUEST FOR STATUS CONFERENCE


       Plaintiffs American Civil Liberties Union and American Civil Liberties Union

Foundation (together, “the ACLU”) respectfully request that the Court schedule a status

conference regarding the inadequacy and improper redactions of Defendant’s production dated

December 7, 2020. A copy of the Defendant’s December 7, 2020 determination letter (Ex. A)

and production (Ex. B) are attached to this filing.

       Plaintiffs contacted counsel for Defendants by email to inquire about their position

regarding Plaintiffs’ request for an urgent status conference to be held before December 10,

2020, the next scheduled execution date. Counsel for Defendants oppose this request.

       On November 16, 2020 this Court held a status conference and ordered Defendant to

produce, on or before December 7 2020, all records responsive to Plaintiffs’ request for

“documentation listing the facilities where [Bureau of Prisons] staff have traveled or will travel




                                                  1
            Case 1:20-cv-02320-RBW Document 28 Filed 12/08/20 Page 2 of 3




in order to provide additional security and support for the July and August executions.” ECF

27, at 1.

        On December 7, 2020 at 4:58 p.m. Defendant produced a determination letter stating that

it had determined only five pages were responsive to the request. Ex. A, at 1. The letter further

stated that these pages had been redacted pursuant to exemptions for unwarranted invasion of

personal privacy of third parties [(b)(6)], law enforcement purposes which could constitute an

unwarranted invasion of personal privacy of third parties [(b)(7)(C)], and concerns that the

release could reasonably be expected to endanger the life or personal safety of an individual

[(b)(7)(F)]. Id. These stated bases for redactions appear wholly inconsistent with the information

redacted. The five pages produced are a budget document, created on September 4, 2020 that

shows region, institutions, and dollar amount of obligations. Ex. B, at 1-15. Every institution is

redacted, the very information requested and ordered by the Court. Id. Many of the regions are

redacted and all of the individual budget information is redacted, with only the total of over 3

million dollars unredacted at the end of the document. Id. There is no entry line or column for

individual names. Id. It appears that only institutional, cost, and regional data have been

redacted, none of which implicates individuals or their privacy and/or safety.

        This matter is of heightened urgency and relevance to the public in light of BOP’s recent

admission in an unrelated filing that 8 of the 40 person BOP execution team, all of whom travel

from other facilities, tested positive for COVID-19 after the November execution of Orlando

Hall. See Ex. C, Declaration or Rick Winter. Executions are scheduled for December 10, 2020

and December 11, 2020 of this week and the public should have information in advance of these

executions.




                                                 2
         Case 1:20-cv-02320-RBW Document 28 Filed 12/08/20 Page 3 of 3




       For the above reasons, Plaintiffs respectfully request that the Court schedule a status

conference at the Court’s earliest availability before the December 10, 2020 execution date.



December 8, 2020                                     Respectfully submitted,


                                                     /s/ Cassandra Stubbs
                                                     Cassandra Stubbs
                                                     Henderson Hill (D.C. Bar No. 358378)
                                                     AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION
                                                     201 W. Main St., Suite 402
                                                     Durham, NC 27701
                                                     (919) 688-4605
                                                     cstubbs@aclu.org
                                                     hhill@aclu.org
                                                     afly@aclu.org

                                                     Arthur B. Spitzer (D.C. Bar No. 235960)
                                                     AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION OF THE DISTRICT OF
                                                     COLUMBIA
                                                     915 15th Street, NW, 2nd floor
                                                     Washington, DC 20005
                                                     (202) 601-4266
                                                     aspitzer@acludc.org


                                                     Attorneys for Plaintiffs




                                                 3
